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                             UNITED STATES DISTRICT COURT
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                            CENTRAL DISTRICT OF CALIFORNIA
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 10    AMMAR YOUSSEF HACHICHO,                        Case No. EDCV 20-1228-VAP-KK
 11                               Petitioner,
 12                         v.                        ORDER DISMISSING PETITION
 13    CHAD F. WOLF, ET AL.,
 14                               Respondent.
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 17          Petitioner Ammar Youssef Hachicho (“Petitioner”) has filed a Petition for
 18   Writ of Habeas Corpus by a Person in Federal Custody (“Petition”) pursuant to 28
 19   U.S.C. § 2241 (“Section 2241”) challenging his detention in United States Immigration
 20   and Customs Enforcement (“ICE”) custody. ECF Docket No. (“Dkt.”) 1. Petitioner
 21   presents two claims: (1) a Fifth Amendment procedural due process claim based on
 22   his placement in disciplinary segregation without review (“Claim One”); and (2) a
 23   Fifth Amendment substantive due process claim based on the conditions at the
 24   Adelanto Detention Facility during the COVID-19 pandemic (“Claim Two”). Id.
 25         Claim Two is identical to the claim presented in in Roman, et al. v. Wolf, et al.,
 26   CV 20-768-TJH (PVCx) (“Roman”). On April 23, 2020, the court in Roman
 27   provisionally certified that action as a class action pursuant to Federal Rule of Civil
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  1   Procedure 23(b)(2) and issued a class-wide Preliminary Injunction. Therefore, on July
  2   23, 2020, this Court stayed Claim Two pending resolution of Roman. Dkt. 9.
  3         On September 22, 2020, the Court in Roman certified the mandatory Roman
  4   class on a non-provisional basis. See Roman, CV 20-768-TJH (PVCx), dkt. 562.
  5   Claim Two is, thus, now DISMISSED as MOOT. In addition, on December 15,
  6   2020, this Court previously DENIED and DISMISSED Petitioner’s Claim One with
  7   prejudice. Dkt. 15.
  8         Accordingly, IT IS ORDERED that the Petition is DISMISSED.
  9         IT IS FURTHER ORDERED that to the extent Petitioner was released
 10   pursuant to an order issued in Roman, Petitioner shall remain released subject to the
 11   terms and conditions previously ordered by the Court.
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 13   Dated: September 28, 2021
                                              HONORABLE VIRGINIA A. PHILLIPS
 14                                           United States District Judge
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